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                   JS   IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

 JANICE SANTIAGO and CLARISSA
 SANTIAGO,

                    Plaintiffs,                No.

             vs.                                                 Jj 7     3900
 CRST EXPEDITED, INC. and
 CONSTANCE SLOAN,

                   Defendants.


                                  NOTICE OF REMOVAL

       AND NOW come Defendants, CRST Expedited, Inc., and Constance Sloan, by

and through their counsel, Wayman, Irvin & McAuley, LLC, who removes this action

from the Court of Common Pleas of Philadelphia County, Pennsylvania to the United

States District Court for the Eastern District of Pennsylvania pursuant to 28 U.S.C. §§

1441, 1332, and 1446 and, in support thereof, aver as follows:

                                    BACKGROUND

       1.     Plaintiffs commenced this action by filing a Complaint in the Court of

Common Pleas of Philadelphia County, Pennsylvania on July 27, 2017 at No. 170702845.

      2.      In paragraphs 1 and 2 of their Complaint, Plaintiffs allege that Janice

Santiago resides at 917 West Luzerne Street, while Clarissa Santiago resides at 4037

North Ninth Street, where both Plaintiffs reside in Philadelphia, Philadelphia County,

Pennsylvania 19140.
                Case 2:17-cv-03900-JS Document 1 Filed 08/28/17 Page 2 of 14




           3.       Plaintiffs allege, in paragraph 3 of their Complaint, that Defendant

 Constance Sloan resides at 400 Oldham Street, Baltimore, Baltimore County, Maryland

 21224.         In paragraph 4 of their Complaint, Plaintiffs allege that Defendant CRST

 Expedited, Inc. has its headquarters located at 1332 Edgewood Road, SW, Cedar Rapids,

 Linn County, Iowa 52406.

          4.        Plaintiffs allege, in paragraph 7 of their Complaint, that a motor vehicle

 accident occurred between Plaintiff Clarissa Santiago and Defendant Constance Sloan,

 where Plaintiff Janice Santiago was alleged to have been a passenger in Clarissa

 Santiago's vehicle. In paragraph 7, Defendant Sloan is alleged to have been operating a

 tractor trailer within the course and scope of her employment with Defendant CRST.

Plaintiffs further allege that the subject accident occurred in the westbound direction of

Interstate 70 in Western Pennsylvania on August 16, 2015.

       5.          Each Plaintiff is asserting their own independent negligence claims

against all of the Defendants, where Count I asserts that claim for Janice Santiago, while

Count II asserts that claim for Clarissa Santiago.

       6.          The "WHEREFORE" clauses at the end of both Counts I and II explicitly

state that each Plaintiff is seeking "compensatory damages in an amount in excess of

Fifty Thousand Dollars {$50,000.00)"           Furthermore, the cover sheet of Plaintiffs'

Complaint states, in all capital letters, that "THIS IS NOT AN ARBITRATION

MAITER. ASSESSMENT OF DAMAGES IS REQUIRED."

      7.          Philadelphia County Local Rule 1301 explicitly limits binding Common

Pleas Arbitrations to only those cases where the amount in controversy is $50,000.00 or
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  less. In the present case, each Plaintiff is seeking damages in excess of $50,000.00.

  Accordingly, the Plaintiffs collectively believe that their case has a value of at least

 $100,000.00.

        8.       Pursuant to Pa. R. Civ. P. 403 and 404(2), Plaintiffs served Defendant

 CRST, an out-of-state Defendant, via certified mail on or about August 1, 2017.

 Similarly, and pursuant to these same Rules, Plaintiffs served Defendant Sloan via

 certified mail on or about August 1, 2017.

        9.       As authorized by 28 U.S.C. § 1441(a), Defendants now remove this action

 from the Court of Common Pleas of Philadelphia County, Pennsylvania based on

 diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(l) because the matter in

 controversy exceeds the sum of $75,000.00, exclusive of interest and costs, and is

between citizens of different states. In compliance with 28 U.S.C. § 1446(b), Defendants

are removing this action "within 30 days after the receipt by the defendant, through

service or otherwise, of a copy of the initial pleading setting forth the claim for relief

upon which such action or proceeding is based." Pursuant to 28 U.S.C. § 1446(d), a

copy of this Notice of Removal is being filed with the Court of Common Pleas of

P.hiladelphia County, Pennsylvania and is likewise being served upon Plaintiffs

through their designated counsel.

                             DIVERSITY OF CITIZENSHIP

       10.      Plaintiffs are citizens of the Commonwealth of Pennsylvania, while

Defendant CRST is a citizen of Iowa and Defendant Sloan is a citizen of Maryland.
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        11.    Therefore, this action is between citizens of different states pursuant

 to § 1332(a)(l).

                             AMOUNT IN CONTROVERSY

        12.    In this action, each of the named Plaintiffs is seeking compensatory

damages for alleged bodily injury, including both pain and suffering and claimed

economic loss. Most relevant for this within Notice, however, each Plaintiff is seeking

damages in excess of Fifty Thousand Dollars ($50,000.00). Plaintiffs therefore believe

that the within action has a value of at least $100,000.00.

       13.    Consequently, the within claim exceeds the sum of $75,000.00, exclusive of

interest and costs, thereby satisfying§ 1332(a).

       WHEREFORE, Defendants, CRST Expedited, Inc., and Constance Sloan, remove

this action from the Court of Common Pleas of Philadelphia County to the United States

District Court for the Eastern District of Pennsylvania pursuant to 28 U.S.C. §§ 1441,

1332, and 1446.

                                          Respectfully submitted,



                                            ~ )- ---d:=:c1/L--
                                         Warren L. Siegfried, Esquire
                                         Pa. IDNo. 43679

                                          Wayman Irvin & McAuley, LLC
                                         Firm.ID No. 583
                                         Three Gateway Center, Suite 1700
                                         401 'Liberty Averiue
                                         Pittsburgh, PA 15222-1004
                                         .(412) 566-~~70 - Tel~phone
                                         (412) 391-1464 - Facsimile
         Case 2:17-cv-03900-JS Document 1 Filed 08/28/17 Page 5 of 14




                             CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the within Praecipe for Entry of

Appearance has been served upon all counsel of record via regular first class mail,

postage prepaid, and ECF Court e-mail notification on this 23rd day of August, 2017.




                                John L. Aris, Esquire
                             Lowenthal & Abrams, P.C.
                           555 City Line Avenue, Suite 500
                              Bala Cynwyd, PA 19004




                                              WAYMAN, IRVIN & McAULEY, LLC


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                                              Warren L. Siegfried, Esquire
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                    LOWENTHAL & ABRAMS, P.C.
                    By: John L. Ads, Esquit-e
                                                                                                THIS IS NOT AN ARBITRATION MATTER
                                                                                               ASSESSMENT OF DAMAGES IS REQUIRED
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                    Identification No. 62789
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                   555 City Line Avenue, Suite 500
                   Bala Cynwyd, Pennsylvania I 9004
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                                                                                                                                                                                                                    u
                   610-667-7511                                                                                          Attomeys fol': Plaintiffs


                  JANICE SANTIAGO                                                                                        PHILADELPHIA COUNTY
                  917 W. Luzeme St.                                                                                      COURT OF COMMON PLEAS
                  Philadelphia, PA l9l40

                            and

                 CLARISSA SANTIAGO
                                                                                                                        NO.
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                 4037 N. 9d• St.
                 Philadelphia, ,PA 19140


                             v.                                                                                                                                                                                                  ~
                CRST EXPEDITED, INC.
                1332 Edgewood Rd. SW
                Cedar Rapids, IA 52406                                                                                                                                                                                       I
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                         and

              CONSTANCE SLOAN
              400 Oldham St
              Baltimore, MD 21224
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LOWENTHAL & ABRAMS, P.C.
By:     John L. Aris, Esquire
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                                                ASSESSMENT OF DAMAGES IS REQUIRED
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Identification No. 62789
555 City Line Avenue, Suite 500
Bala Cynwyd, Permsylvania 19004                                Attorneys for: Plaintiffs
610~667-7511

                                                              PHILADELPHIA COUNTY
JANICE SANTIAGO                                               COURT OF COMMON PLEAS
917 W. Luzerne St.
Philadelphia, PA 19140

     and                                                      NO.
CLARISSA SANTIAGO
4037 N. 9U• St.
Philadelphia, PA 19140


      v.
CRST EXPEDITED, INC.
1332 Edgewood Rd. SW
Cedar Rapids, IA 52406

     and
CONSTANCE SLOAN
400 Oldham St
Baltimore, MD 21224                                                                                             I
                              COMPLAINT-MOTOR VEHICLE


       1.
               Plaintiff Janice Santiago is an adult individual residing at the above address.                  iI
                                                                                                                I
               Plaintiff Clarissa Santiago is an adult individual residi11g at the above address.
       2.
               Defendant Constance Sloan is a11 adult individual residing at the above address.
       3.
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                      4.       Defendant CRST Expedited, Inc. is, upon information and belief, an Iowa

        col'poration with its headquarters located at 1332 Edgewood Rd. SW, Cedar Rapids, Iowa.
                                                                                                                                 I
                  5.           On August 16, 2015, at or about 9:00 a.m., defendant Constance Sloan was

        driving a Freightliner Cascadia tractor truck owned by def'endant CRST Expedited, Inc. a11d was
                                                                                                                                 I
       pulling a traile1·.

                 6.            On August 16, 2015, at or about   9:·oo a.m., defendant Constance Sloan was
       within the course and scope of he1· employment with CRST Expedited, Inc.

                 7.           On August 16, 2015, at or about 9:00 a.m., plaintiff Clarissa Santiago was

      operating a Toyota Ca1my motor vehicle westbound on I-70 it1 westem Pennsylvania with

      plaintiffs Ja11ice Santiago as a passenger. Plaintiffs were in the l'ight'la11e (of two lanes) of travel

      a11d defendant Constance Sloan was drivfog tbe tractoi--tt·aHer in the left lane. Defendant

      Constance Sloan then moved the tt·actor-trailer from the left lane to the right lane and part or all

     of the tractor·t1:aile1· e11tered plai11tiffs' lane of travel, causing a collision.
                                                                                                                                 I
                                                        COUNT I
                                PLAINTIFF JANICE SANTIAGO v. DEFENDANTS
                                                     NEGLIGENCE

            8.             Plaintiff incorporates herein by reference each and every ave1ment contained in

    paragraphs l through 7 as though the same were set fo1'tb ft.lily herein at length.

           9.              The negligence of the defendant Constance Sloan and, by vicarious liabiJity, her

    employer CRST Expedited, Inc., consisted of, inter alia:                                                                I
                                                                                                                            '
                                 a.      the defendant failed to have the motor vehicle under proper and
                                         1'easonable control at all relevant times be1·eii1;
                                                                                                                            I
                                 b.      the defe11dant opet-ated the motor vehicle in such a manner as to                  ~
                                         cause it to collide into and against anothe1· vehicle;                             i
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                                      c.      the defendant failed to give prompt, proper, and adequate warning
                                              of approach;
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                                  d.         the defendant failed to keep a proper look out;
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                                 e.          the defendant failed to operate a motor vehicle in a safe and proper                   fi
                                             manner;
                                                                                                                                    I
                                 f.         the defendant failed to apply the brakes Ol' to take such other
                                            measures as were necessary to avoid the above-desc1'ibed collision;

                             g.             the defendant failed to comply with the laws, rules, and regulations
                                            of the Pennsylvania Motor Vehicle Code pe11ai11ing to the
                                            operation of motor vehicles on or about the public highways;

                            h.             the defendant was operating the vehicle at an excessive speed 01·
                                           unsafe speed for conditions;                                                         I
                            i.             the defendant made a lane change without adequate clearance;
                                                                                                                                I

                                                                                                                                I
                           j.              the defendant made a Jane change witboutrega1·d for traffic to her
                                           right;

                           k.              the defendant failed to swerve to avoid colliding into another
                                           vehicle.


          1O.      The above-described collision was in no way caused by a11y act or failure to act

 on the part oftbe plaintiff.
                                                                                                                                '
         11.      As e. dfrect result of the aforesaid incident, plaintiff suffered various injtu·ies,

including. but not limited to: cervical herniation with radiculopathy, closed head htjtu-y, cervical

strain, lumbar strain, left slioulder stl·ai11 and symptomizatio11 of cysts in the left shoulder, right

lmee contusion.

        12.       As a result of tbe above-described incident, plaintiff has suffered the need to
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unde1:go medical and rehabilitative t1·eattnent and care, which may continue into the future                               iI
indefinitely.
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                13.       As a result of the above-described incident, plaintiff has suflered, and may

     continue to suffer economic losses, including bills for medical treatment, medication, physical
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     therapy, and other medical services.
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               14.       As a dit'ect result of the aforesaid i11cide11t, plaintiff has incurred in the past, and

    will in the futul'e continue to incur, great physical and emotional pain and suffering, and bodily

    impairment.

              15.       As a direct result of the aforesaid incident, plaintiff has been unable to attend to

   normal duties and activities.



           WHEREFORE, plaintiff demands judgment agai11st defendants for compensatory

  damages in an amount in excess of Fifty Thousand Dollars ($50,000.00), plus interest and cost

  and such other relief as this Honorable Cou1-t deems appropriate.



                                           COUNT II
                          PLAINTIFF CLARISSA SANT!AGO v. DEFENDANTS
                                         NEGLIGENCE

          16.         Plaintiff incorporates herein by reference each and every averment contained in

 paragraphs I through 15 as though the same were set forth fully herein at length.


         17.          TI1e above-des~ribed c0Uisio11 was in no way caused by any act or failure to act

on the part of the plaintiff.                                                                                                I

        18.          As a direct result of t!te afol'esaid incident, plaintiff suffel'ed various injuries,

including, but uot limited to: CS-6·7 radiculopathy, LS radiculopatlly, left rotator cuff injury,
                                                                                                                        I
head iajury. cel'vical strain, lumba.t• strain, foot contusion and sprain, hand sprain, left hip sprain.


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           19.      As a result of the above-described incident, plaintiff has suffered the need to                            K
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   undel'go medical and rehabilitative treatment and care, which may continue into the future                                  Ji

  indefinitely.

          20.      As a result of the above-described incident, plaintiff has suffered, and may

  continue to suffer economic losses, including bills for medical treatment, medication, physical                         fr

  therapy, and other medical services.

         21.      As a direct result of the aforesaid incident, plaintiff has i11cu1red in the past, and

 witl in the future continue to incur, great physical and emotional pain and suffering, and bodily

 impairment.
                                                                                                                          I
        22.       As a direct result of the aforesaid incide11t, plaintiff has been unable to attend to

nol'mal duties and activities.



        WHEREFORE, plaintiff demands judgment against defendants for compensatory

damages h1 an amount in excess of Fifty Thousand DoUai:s ($50,000.00), plus i11te1·est and cost

and such other relief as this Honorable Court deems appropriate.

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                                        By:                                                                     J
                                                   HN L. ARIS, ESQUIRE
                                                Attomeys fot• Plaintiffs                                        ll
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         Case 2:17-cv-03900-JS Document 1 Filed 08/28/17 Page 13 of 14




                                        VERIFICATION


        I, JANJCE SANTIAGO, hereby verify that I am the plaintiff in this matter and that the

facts set forth in the foregoing al'e true and co11·ect to the best of my knowledge, in.formation and

belief; and that these statements are made subject to the penalties of 18 Pa.C.S. §4904, relating to
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unsworn falsification to authorities.
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                  Case 2:17-cv-03900-JS Document 1 Filed 08/28/17 Page 14 of 14


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                                                VERIFICATION


                 I, CLARISSA SANTIAGO, hereby verify that I am the plaintiff in this matter and that

         the facts set forth in the foregoing are true and co1·1·ect to the best of my knowledge, information                       ~

         and belief; and that these statements are made subject to the penalties of 18 Pa.C.S. §4904,

         relating to unsworn falsification to authotities.
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